[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                        MEMORANDUM OF DECISION de PLAINTIFF'S POST JUDGMENT MOTION FOR ARTICULATION OF TRIAL COURT DECISION (150)
The plaintiff has moved for articulation of
1. The parents' respective obligations for unreimbursed medical expenses and
2. The plaintiff's request for retroactivity.
The court answers the items as follows.
1. Section III Unreimbursed Medical Expenses provides that after the $29 is deducted from the payor's amount and added to the payee's amount:
    Plaintiff's weekly net     $1,996.44 less                       $  527.00 _________ $1,469.44
    Defendant's weekly net     $  572.94 add                        $  527.00 CT Page 5085-ch _________ $1,099.94
It creates a new percentage as follows:
1,469.44 ÷ 2,569.38 = 57.2%
for the plaintiff and 42.8% for the defendant in the allocation for unreimbursed medical expense.
2. To say "effective as of February 1, 2000" is the ruling on retroactivity.
HARRIGAN, J.